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 10
 11                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
 12
 13                                                           '18CV2366 JLS MDD
 14   SPARTANNASH COMPANY,                            Case No. ___________

 15                              Plaintiff,           COMPLAINT FOR
 16   vs.                                             VIOLATION OF THE
                                                      SHERMAN ACT, 15
 17   TRI-UNION SEAFOODS, LLC, d/b/a                  U.S.C. § 15 U.S.C. § 1
 18   CHICKEN OF THE SEA INTERNATIONAL;
 19   THAI UNION GROUP PUBLIC COMPANY,
      LTD.; BUMBLE BEE FOODS, LLC, f/k/a              DEMAND FOR JURY
 20   BUMBLE BEE SEAFOODS, LLC; STARKIST              TRIAL
 21   CO., DEL MONTE CORPORATION;
      DONGWON INDUSTRIES CO., LTD.; LION              REDACTED PUBLIC
 22   CAPITAL LLP; LION CAPITAL                       VERSION
 23   (AMERICAS), INC.; and BIG CATCH
      CAYMAN LP a/k/a LION/BIG CATCH
 24
      CAYMAN LP,
 25
 26                              Defendants.
 27
 28

      COMPLAINT FOR VIOLATION OF THE
      SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  1         Plaintiff SpartanNash Company, formerly known as Spartan Stores, Inc.
  2   (“SpartanNash”), by and through undersigned counsel, complain as follows:
  3   I.    NATURE OF THE ACTION
  4         1.     This action arises out of an overarching, continuous conspiracy to fix,
  5   stabilize, or maintain the prices of shelf-stable packaged tuna products (i.e., tuna in
  6   cans, pouches and ready-to-eat servings) (“Packaged Tuna”) by Bumble Bee Foods
  7   LLC, Tri-Union Seafoods LLC d/b/a Chicken of the Sea, and StarKist Co. (along
  8   with certain other entities described below) (collectively, “Defendants”). It began
  9   at a time uncertain, but at least by 2004, and continued in force or effect, or both,
 10   until at least July 2015 (the “Relevant Period”).
 11         2.     This conspiracy was effectuated by at least the following means: (a)
 12   agreeing to decrease the sizes of pouches and cans in which Packaged Tuna is sold;
 13   (b) agreeing to issue collusive price increases on Packaged Tuna; (c) agreeing to
 14   follow each other’s price increases; (d) agreeing to limit promotional offers for
 15   Packaged Tuna; and (e) agreeing not to sell branded canned tuna labeled as caught
 16   without the use of fish aggregation devices (i.e., that it is “FAD-free”). As a result
 17   of Defendants’ cartel, Plaintiff has paid inflated prices for Defendants’ products.
 18         3.     The United States Department of Justice (“DOJ”) is conducting a
 19   criminal investigation of this conspiracy. On December 7, 2016, it filed a criminal
 20   information against Walter Scott Cameron, a Senior Vice-President of Sales for
 21   Bumble Bee, alleging a conspiracy to fix prices of packaged seafood, including
 22   Packaged Tuna. United States v. Cameron, No. 3:16-cr-00501-EMC (N.D. Cal.)
 23   (ECF No. 1). Cameron, who goes by the name “Scott” (and is referred to as Scott
 24   Cameron throughout this Complaint), has held senior sales positions at Bumble
 25   Bee since May 2000 and has served as Bumble Bee’s Senior Vice President of
 26   Sales since May 2007. As detailed below, Cameron entered into agreements with
 27   Chicken of the Sea and StarKist to increase prices. Cameron pled guilty on January
 28   25, 2017.
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  1           4.   On December 21, 2016, the DOJ filed a criminal information against
  2   Kenneth Worsham, a Senior Vice President of Marketing for Bumble Bee, alleging
  3   his participation in a conspiracy to fix the prices of packaged seafood, including
  4   Packaged Tuna. United States v. Worsham, No. 3:16-cr-00535-EMC-1 (N.D. Cal.)
  5   (ECF NO. 1). Kenneth Worsham has been a Bumble Bee Senior Vice President of
  6   Marketing since at least 2001. Kenneth Worsham frequently discussed future
  7   pricing and shared customer opportunities with his father, Bob Worsham, a
  8   StarKist pricing consultant since the 1980s, as well as with Mike White, Chicken
  9   of the Sea’s Director of Marketing since the late 1980s. As detailed below,
 10   Kenneth Worsham entered into agreements to increase prices with the leadership
 11   of Bumble Bee and StarKist. Kenneth Worsham pled guilty on March 15, 2017.
 12           5.   Both plea agreements for Scott Cameron and Kenneth Worsham state
 13   that:
 14                [T]he defendant participated in a conspiracy with other
 15                persons and entities engaged in the manufacture and sale
                   of packaged seafood, the primary purpose of which was
 16                to fix, raise and maintain the prices of packaged seafood
 17                sold in the United States. In furtherance of the
                   conspiracy, the defendant engaged in conversations and
 18                discussions and attended meetings with representatives of
 19                other major packaged-seafood-producing firms. During
                   these conversations, discussions and meetings,
 20
                   agreements and mutual understandings were reached to
 21                fix, raise and maintain the prices of packaged seafood
 22                sold in the United States.
 23
      Worsham Plea Agreement, ¶4(b); Cameron Plea Agreement, ¶4(b).
 24
              6.   Chicken of the Sea has confirmed that it is an amnesty applicant with
 25
      respect to packaged seafood. Under the DOJ’s Leniency Guidelines, for Chicken of
 26
      the Sea to receive conditional amnesty, the company must admit to its participation
 27
 28
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  1   in    a      criminal   antitrust   violation,   such   as    price   fixing.   See
  2   https://www.justice.gov/atr/page/file/926521/download.
  3          7.      On May 8, 2017, Bumble Bee agreed to plead guilty and to pay a
  4   criminal fine in the amount of no less than $25 million, and potentially as high as
  5   $81.5 million, in connection with charges that it had fixed the prices of packaged
  6   seafood, which was defined as consisting of shelf-stable tuna (i.e., Packaged
  7   Tuna). Specifically, the information filed by the DOJ stated that Bumble Bee had
  8   (a) engaged in conversations and discussions and attended meetings with
  9   representatives of other major packaged-seafood-producing firms; (b) agreed and
 10   reached mutual understandings during these conversations, discussions and
 11   meetings, to fix, raise, and maintain the prices of packaged seafood sold in the
 12   United States; and (c) negotiated prices with customers and issued price
 13   announcements for packaged seafood in accordance with the agreements and
 14   mutual understandings reached. Bumble Bee has also agreed to cooperate in the
 15   DOJ’s ongoing investigation.
 16          8.      This Complaint is filed under Section 4 of the Clayton Act (15 U.S.C.
 17   § 15), to recover treble damages, costs of suit and reasonable attorneys’ fees for
 18   violations of Section 1 of the Sherman Act (15 U.S.C. § 1).
 19   II.    JURISDICTION AND VENUE
 20          9.      The Court has original federal question jurisdiction over the Sherman
 21   Act claim asserted in this complaint pursuant to 28 U.S.C. §§ 1331 and 1337 and
 22   Sections 4 of the Clayton Act (15 U.S.C. § 15).
 23          10.     During the Relevant Period, Defendants, directly or through one or
 24   more their affiliates, sold Packaged Tuna throughout the United States in a
 25   continuous and uninterrupted flow of interstate commerce, including through and
 26   into this district.
 27          11.     Defendants and their co-conspirators engaged in conduct both inside
 28   and outside the United States that caused direct, substantial, and reasonably
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  1   foreseeable and intended anticompetitive effects upon interstate commerce within
  2   the United States, and upon import trade and commerce with the United States.
  3         12.    The conspiracy alleged in this Complaint has directly and
  4   substantially affected interstate commerce in that Defendants deprived Plaintiff of
  5   the benefits of free and open competition in the purchase of Packaged Tuna within
  6   the United States.
  7         13.    Venue is proper in this District pursuant to Sections 4(a) and 12 of the
  8   Clayton Act (15 U.S.C. §§ 15 and 22), and 28 U.S.C. § 1391(b), (c), and (d)
  9   because Defendants reside, transact business, are found within, or have agents
 10   within this District, and a substantial part of the events giving rise to Plaintiff’s
 11   claims occurred and a substantial portion of the affected interstate trade and
 12   commerce described below was carried out in this district.
 13         14.    Defendants are amenable to service of process under Fed. R. Civ. P.
 14   4(k)(1)(A) and the long-arm statute of California (Cal. Code Civ. P. §410) because
 15   each has transacted business in this state and because the California long-arm
 16   statute extends jurisdiction to the limits of due process and each Defendant has
 17   sufficient minimum contacts with the state of California to satisfy due process.
 18         15.    This Court has personal jurisdiction over Defendants because, inter
 19   alia, each Defendant: (a) transacted business in this district, the United States and
 20   its territories, and the District of Columbia; (b) directly or indirectly sold and
 21   delivered Packaged Tuna in this district, the United States and its territories, and
 22   the District of Columbia; (c) has substantial aggregate contacts with this district,
 23   the United States and its territories, and the District of Columbia; and (d) engaged
 24   in anticompetitive conduct that was directed at, and had the intended effect of
 25   causing injury to, persons and entities residing in, located in, or doing business in
 26   this District, the United States and its territories, and the District of Columbia.
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  1   III.   PLAINTIFF
  2          16.   Plaintiff, SpartanNash Company, formerly known as Spartan Stores,
  3   Inc. (“SpartanNash”), is a Michigan corporation with its principal place of business
  4   in Byron Center, Michigan. SpartanNash brings this action on its own behalf and
  5   on behalf of its assignors, each of which directly purchased canned tuna from one
  6   or more Defendant and their co-conspirators during the conspiracy. The reference
  7   in this Complaint to “SpartanNash” and “Plaintiff” refers to SpartanNash
  8   Company; Spartan Stores, Inc.; Nash-Finch Company (in its own name and d/b/a
  9   MDV Nash Finch); Spartan Stores Distribution, LLC; and MDV SpartanNash,
 10   LLC.
 11   IV.    DEFENDANTS
 12          A.    Bumble Bee
 13          17.   Defendant Bumble Bee Foods LLC (“Bumble Bee”) is a domestic
 14   corporation with its principal place of business at 280 10th Avenue, San Diego,
 15   California 92101. Bumble Bee produces and sells Packaged Tuna throughout the
 16   United States (including this District), its territories and the District of Columbia.
 17   Bumble Bee is a wholly-owned subsidiary of Lion Capital, a private investment
 18   firm headquartered in Great Britain.
 19          B.    Thai Union and Tri-Union
 20          18.   Defendant Tri-Union Seafoods, LLC d/b/a Chicken of the Sea
 21   International (“Tri-Union”) is a Delaware limited liability company with its
 22   principal place of business at 9330 Scranton Road, Suite 500, San Diego,
 23   California 92121.
 24          19.   Defendant Thai Union Group Public Company, Ltd. (“Thai Union”), a
 25   publicly held company headquartered in Thailand, is a global processor and
 26   exporter of frozen seafood and Packaged Tuna.
 27          20.   Since 2000, Tri-Union has been a wholly-owned subsidiary of Thai
 28   Union North America, Inc. (“TUNAI”), a California corporation with its principal
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  1   place of business at 9330 Scranton Road, Suite 500, San Diego, California 92121.
  2   TUNAI, in turn, is a wholly-owned subsidiary of Thai Union. All three vertically-
  3   integrated companies have been led by Thiraphong Chansiri, who serves as the
  4   CEO and President of Thai Union, the President of TUNAI, and a Director of Tri-
  5   Union, at which Chansiri has a day-to-day leadership role.
  6         21.   Throughout the Relevant Period, Thai Union controlled and
  7   supervised the business, operations, and activities of Tri-Union, including the
  8   conduct alleged in this Complaint. Thai Union has been described in the media as
  9   “the world’s biggest producer of canned tuna,” and is reported to export
 10   approximately 55% of its tuna to the United States.
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 24         23.   Since the acquisition, Thai Union has fully integrated Tri-Union into
 25   its global Packaged Tuna business. In 2007, Tri-Union’s President, John Signorino,
 26   was replaced by Thai Union’s former Executive Director and Chief Financial
 27   Officer, Shue Wing Chan, who is both a member of the Chansiri family and Thai
 28   Union’s self-styled “Global Leadership Team.” Prior to joining Tri-Union, he
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   1   served as the CFO of Thai Union.1
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  25        29.    As described herein, Thai Union approved Tri-Union’s participation
  26   in the 2008 collusive resizing of canned tuna. It was aware of and supported
  27   collusive price increases for Packaged Tuna. It was aware of and supported the
  28   2012 agreement among Bumble Bee, Tri-Union and StarKist Company to refrain
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   1   from labeling their respective brands of canned tuna as “FAD-free,” i.e., caught in
   2   an environmentally friendly manner.
   3         30.
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  10         31.   Thus, Tri-Union has been and is the alter ego and agent of Thai
  11   Union. Moreover, Thai Union directly participated in the conspiracy described
  12   herein through personnel who had duties at Thai Union, such as Chan.
  13         32.
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  20         33.
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  25         34.   Thai Union and Tri-Union pitched themselves to Chicken of the Sea
  26   customers as one company, i.e., Thai Union, the world’s largest canned seafood
  27   company. Given the breadth and scope of the conspiracy, and the benefits received
  28   by Thai Union as a direct result of the collusion alleged herein, it would be
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   1   inequitable to allow Thai Union to escape responsibility for the actions of the
   2   combined enterprise.
   3         35.   As used herein, “Chicken of the Sea” collectively refers to Defendants
   4   Tri-Union and Thai Union.
   5         C.    Dongwon, Del Monte, And StarKist
   6         36.   Defendant StarKist Co. is a Delaware corporation with its principal
   7   place of business at 225 North Shore Drive, Suite 400, Pittsburgh, Pennsylvania
   8   15212. From December 2002 until October 2008, StarKist was an operating
   9   segment of Del Monte Corporation, at which time it was sold to three members of
  10   the family-owned and managed Korean chaebol Dongwon Group. The purchasing
  11   companies were Dongwon Industries Co., Ltd. (“Dongwon Industries”), Dongwon
  12   Enterprise Co., Ltd. (“Dongwon Enterprise”), and Dongwon F&B Co. After the
  13   purchase, StarKist became a majority-owned subsidiary of Dongwon Industries,
  14   and since September 23, 2012, StarKist has been a wholly-owned subsidiary of
  15   Dongwon Industries. Each of the Dongwon Group affiliates is ultimately owned by
  16   Dongwon Enterprise, a family-owned holding company. Jae-chul Kim, who
  17   founded the conglomerate in 1969, owns 24.5% of Dongwon Enterprise, while his
  18   son and successor, Nam-jung Kim, owns 68%.
  19         37.   Defendant Del Monte Corporation (“Del Monte”), now known as Big
  20   Heart Pet Brands, Inc., is a Delaware corporation with its principal place of
  21   business at 1 Strawberry Lane, Orrville, Ohio, 44667. Del Monte acquired StarKist
  22   in 2002. Through StarKist, Del Monte produced and sold Packaged Tuna
  23   throughout the United States (including in this District), its territories and the
  24   District of Columbia. Del Monte sold StarKist to Dongwon on October 6, 2008.
  25   According to a filing by Del Monte with the Securities & Exchange Commission,
  26   “[a]t the time of sale, Del Monte entered into a two-year Operating Services
  27   Agreement (which was completed in September 2010) pursuant to which [Del
  28
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   1   Monte] provided operational services to Starkist Co. such as warehousing,
   2   distribution, transportation, sales, information technology and administration.”
   3         38.    Del Monte managed the operations of StarKist Co. during the time it
   4   owned StarKist, from December 2002 until October 2008, and thereafter continued
   5   to manage StarKist under an operating agreement with Dongwon Industries until
   6   October 2010, at which time Dongwon Industries became the operator of StarKist.
   7   Key StarKist executives also served as Del Monte executives during the time Del
   8   Monte owned and operated StarKist. For example, Don Binotto served as
   9   StarKist’s CEO from the 1990s through December 2005 when StarKist was owned
  10   first by Heinz, then by Del Monte, and then was rehired by Dongwon Industries.
  11   Joseph Tuza was a Del Monte marketing executive between May 2006 and August
  12   2008, and then was a StarKist Sr. VP of Marketing.
  13         39.    Defendant Dongwon Industries Co., Ltd. is a publicly traded company
  14   with its principal place of business at Dongwon Industries Building, 7 th Floor,
  15   Mabang-ro 68 (Yangjae-dong), Seocho-gu, Seoul, South Korea. Dongwon
  16   Industries is part of the Dongwon Group, which has annual Packaged Tuna
  17   revenue of approximately $1.4 billion. Dongwon Group is a chaebol, a family-
  18   controlled Korean conglomerate, in which corporate lines between member entities
  19   are often blurred. StarKist regularly describes itself as a subsidiary of Dongwon
  20   Group and as a subsidiary of Dongwon Industries.
  21         40.    Chaebols are closely-knit business groups in South Korea under the
  22   control of an extended family, with key flagship firms which are used as the
  23   instruments of control of other firms within the group. They have four key
  24   features: (1) the governance structure of the group involves family or extended
  25   family control; (2) the formal organizational structure of the group involves a
  26   group headquarters, located in an actual or de facto holding company, sometimes
  27   known as a “flagship” company, which controls a network of subsidiaries, which
  28   fall under the control of the family, the group as a whole, and of flagship firms
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   1   within the group; (3) the business structure of the firm encompasses a number of
   2   discrete products and services, some of which are wholly unrelated and others that
   3   are effectively vertically integrated; and (4) these groups are characterized by
   4   strong internal cultures of hierarchy, familism, and loyalty, with family members
   5   of the founder or his cohorts also occupying key managerial positions within the
   6   group.
   7         41.   The Dongwon Group is a Chaebol. The company started in 1969 and
   8   is dominated by Chair Jae-chul Kim (“J.C. Kim”) and members of his family or
   9   extended family, as described in more detail below. The group is headquarters is in
  10   Seoul, South Korea, where its holding company, Dongwon Enterprise, is located.
  11   Through its subsidiaries, it operates in a number of business sectors including,
  12   among other things, marine products, other food products, feed products, and pet
  13   food, packing materials, and aluminum foil products.
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  23                                               In other words, as a chaebol, Dongwon
  24   does not follow the principles of corporate separateness that are expected of
  25   companies incorporated in the United States. Instead, the Dongwon entities,
  26   including Dongwon Industries and StarKist, operated as a single entity.
  27         42.   Dongwon Group controls approximately 75% of the Korean canned
  28   tuna market. At the time of the StarKist acquisition, it was reported that “the
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   1   transaction will help the Dongwon Group, whose affiliates include the world’s
   2   biggest tuna fishing company, Dongwon Industries, and processed food maker
   3   Dongwon F&B, to create the world’s biggest canned tuna business. ‘We believe
   4   that the acquisition of StarKist seafood will help Dongwon establish a strong
   5   foothold and penetration in the U.S. market,’ said Park In-gu, vice chairman of
   6   Dongwon Enterprise, which is the holding company for the conglomerate.” Park
   7   also stated that the deal was “a great opportunity for us to initiate operations in the
   8   United States.”
   9         43.    Dongwon Group’s website describes its mission to become the
  10   “world’s biggest tuna company,” through StarKist, which it describes as follows:
  11                StarKist is the world's best tuna brand with 65 years of
  12                history, and holds the No.1 position in the US tuna
                    market. Like Dongwon Group in Korea, StarKist is an
  13                iconic tuna brand in the United States, and has been
  14                controlled by Dongwon Group since 2008,
                    accompanying Dongwon Group on its journey to
  15
                    globalization. Dongwon Group, which has already
  16                become the dominant player in Korea's tuna market, has
  17                focused on the steady growth of the world's tuna market
                    and determined that tuna can be one of core resources
  18                that will lead future industries. Through the acquisition of
  19                StarKist, Dongwon Group has secured an opportunity to
                    take off as the world's biggest tuna company, and will
  20
                    become de facto a globalized enterprise.
  21
             44.    Dongwon Group purchased StarKist with the goal of globalizing and
  22
       integrating StarKist with its existing seafood businesses. According to former
  23
       StarKist CEO, In-soo Cho, “StarKist used to own boats and catch its own tuna and
  24
       process it and sell it” until the “business was sold and became part of larger parts
  25
       of businesses.” StarKist’s purchase by Dongwon Group, which owns one of the
  26
       largest fishing fleets in the world, was done with the goal of returning StarKist to
  27
       an integrated business model, “from the sea to the shelves.” To do so, executives
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   1   from other Dongwon Group companies were brought to StarKist to oversee the
   2   company; the media reported a contemporaneous “string of exits” by StarKist’s
   3   U.S. executives.
   4         45.
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  11         46.
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   1         47.   In 2012, Dongwon Industries dismissed several StarKist executives
   2   and replaced them with executives from the Dongwon entities—a move intended
   3   to “better align and leverage Dongwon’s expertise and streamline the
   4   organization.” Among the Dongwon executives brought on to closely manage and
   5   control StarKist was Nam-jung Kim, who currently owns 68% of Dongwon
   6   Enterprise. Nam-jung Kim (the son of Dongwon Chair J.C. Kim) was appointed to
   7   the newly created position of chief operating officer to lead the “continued growth
   8   and expansion of Dongwon-StarKist global business.” His biography, according to
   9   Bloomberg, demonstrates the seamless integration between the Dongwon affiliates,
  10   including StarKist:
  11
                   Nam-jung Kim served as Vice President of Dongwon
  12               F&B Co., Ltd. Mr. Kim served as the Chief Operating
  13               Officer of StarKist Co. since 2012 until October 2014.
                   Mr. Kim's lasting relationship with the tuna industry took
  14
                   off in 1996 at the Dongwon F&B tuna plant in
  15               Changwon. He served as the Chief of Management
  16               Supporting Division at Dongwon Industry Co., Ltd. He
                   served as a Director of Construction Division at Donwon
  17               Systems Corporation and Vice President of Dongwon
  18               Enterprise Co., Ltd. He became Product Manager of the
                   sea laver category in 1999. Mr. Kim returned to
  19               Dongwon F&B in 2004 to work as Marketing Strategy
  20               Manager until 2006. He continued to diversify his
  21               business acumen by leading the Finance & Planning
                   Department of Dongwon Industries Co. Since 2008, he
  22               served as the Head of the Finance and Planning
  23               Department at Dongwon Systems and served as its Vice
                   President of its construction arm. Immediately before
  24               joining StarKist, he served as Executive Vice President at
  25               Dongwon Enterprise since 2011, the holding company of
                   the Dongwon conglomerate.
  26
  27   According to Bloomberg, Nam-jung Kim currently serves on the Board of
  28   Dongwon F&B, and as Vice Chair of StarKist.
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   1         48.   Nam-jung Kim was to lead the growth of the combined Dongwon-
   2   StarKist global business. At the same time, Dongwon Industries stated its
   3   commitment to supply StarKist directly with a steady stream of tuna, and
   4   purchased a dedicated vessel to operate for StarKist in American Somoa. Dongwon
   5   added Jae Hoon Choi to the StarKist procurement team to lead the effort.
   6         49.   Also in 2012, Hyung-joo Kim was transferred from Dongwon F&B,
   7   where he served as chief financial officer, to become StarKist’s senior vice
   8   president, finance. Andrew Choe joined Dongwon Enterprise in 2010 and was sent
   9   to StarKist in 2012 to work as senior vice president of supply chain and operations,
  10   before being named StarKist president and CEO in 2014. In addition, Ingu Park,
  11   the vice chair of Dongwon Enterprise, became the board chair of StarKist and
  12   served as interim president after Don Binotto left in November 2010, reporting
  13   directly to the Chair of Dongwon. According to Bloomberg, Ingu Park currently
  14   serves as both the CEO of Dongwon Precision Machinery Co. Ltd. and as Chair of
  15   the StarKist board of directors. He had previously served as Vice Chair and
  16   Director of Dongwon F&B.
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   3         54.    Dongwon, including J.C. Kim and other senior Dongwon executives,
   4   not only established policy and direction for StarKist, but was the decision-maker
   5   concerning even routine matters at StarKist, and effectively took over the
   6   performance of StarKist’s day-to-day operations in carrying out that policy and
   7   direction. Further, because of the disregard of corporate separateness and the lack
   8   of any meaningful distinction between the two companies, StarKist employees that
   9   performed acts in furtherance of the conspiracy did so on behalf of both Dongwon
  10   and StarKist (and Dongwon employees similarly acted on behalf of both StarKist
  11   and Dongwon).
  12         55.
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  17         56.    StarKist Co. is the agent, instrumentality and alter ego of Dongwon,
  18   which directly participated in, and profited from, the conspiracy described herein.
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  24         58.
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   6         59.     As set forth below, Del Monte participated directly in various acts in
   7   furtherance of the conspiracy during the time it owned and operated StarKist.
   8   During the Del Monte years, StarKist functioned as an operating segment of Del
   9   Monte and was not an independent company. Multiple Del Monte employees
  10   served dual roles in both StarKist and Del Monte, including in their direct
  11   participation in the improper exchange of competitive information and illegal
  12   agreements.
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  18         60.     As used herein, “StarKist” collectively refers to Defendants StarKist,
  19   Del Monte (December 2002 until October 2010), and Dongwon (from October
  20   2008 through the present).
  21   V.    AGENTS
  22         61.     Defendants’ alleged wrongful acts were authorized, ordered, or
  23   performed by their directors, officers, managers, agents, employees, or
  24   representatives while actively engaged in the management of Defendants’ affairs.
  25   VI.   INTERSTATE TRADE AND COMMERCE
  26         62.     Defendants and their co-conspirators, directly and through their
  27   affiliates, sold Packaged Tuna throughout the United States, including this district,
  28
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   1   at artificially inflated prices during the Relevant Period. Defendants are direct
   2   competitors in the United States Packaged Tuna market.
   3         63.    Throughout the Relevant Period, there was a continuous and
   4   uninterrupted flow of invoices for payment, payments, and other documents
   5   essential to the sale of Packaged Tuna in interstate commerce between and among
   6   offices of Defendants and their customers located throughout the United States, its
   7   territories and the District of Columbia.
   8         64.    Throughout the Relevant Period, Defendants transported substantial
   9   amounts of Packaged Tuna in a continuous and uninterrupted flow of interstate
  10   commerce throughout the United States, its territories and the District of Columbia.
  11         65.    Throughout the Relevant Period, Defendants’ unlawful activities, as
  12   described herein, took place within and substantially affected the flow of interstate
  13   commerce and had a direct, substantial and reasonably foreseeable effect upon
  14   commerce in the United States, its territories and the District of Columbia.
  15   VII. FACTUAL ALLEGATIONS
  16         A.     Background
  17         66.    Packaged Tuna is composed of raw seafood processed to preserve and
  18   enhance flavor, and ensure product safety. Because it is typically caught far
  19   offshore, raw seafood is usually delivered to canneries frozen or refrigerated.
  20         67.    Upon delivery to a processing plant, an initial quality control
  21   inspection is performed to ensure the seafood is stored and transported at the
  22   proper temperature, and is in acceptable condition. The seafood is maintained at
  23   temperatures ranging from 0°C to -18°C until processed. Seafood passing the
  24   initial quality control inspection is prepared for packaging.
  25         68.    Accepted seafood is initially transferred to large ovens for “pre-
  26   cooking.” After further cleaning, the seafood is fed into filling machines where
  27   product packages (either cans, pouches, or cups) are filled with pre-set amounts.
  28   Filled packages are moved to sealing machines where they are closed and sealed.
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   1           69.   Each package is affixed with a permanent production code identifying
   2   plant, product, date packed, batch, and other information. Filled and sealed
   3   packages are then cooked under pressure to make the products commercially
   4   sterile.
   5           70.   StarKist, Bumble Bee, and Chicken of the Sea sell Packaged Tuna in
   6   the United States. The United States Packaged Tuna industry generates annual
   7   sales of approximately $1.7 billion.
   8           71.   Defendants dominated the United States market for Packaged Tuna
   9   throughout the Relevant Period, with a combined market share of 80-85%. Each
  10   Defendant’s share of the market is almost identical to what it was at the beginning
  11   of the Relevant Period: StarKist (40-44%); Bumble Bee (24-25%); and Chicken of
  12   the Sea (15-17%).
  13           72.   After decades of growth, since 2004, demand for Packaged Tuna has
  14   been declining. From about 1950 until 2003, Packaged Tuna was the most popular
  15   seafood in the United States. In 1990, the International Trade Commission
  16   estimated that Americans consumed between one-half and two-thirds of the global
  17   supply of Packaged Tuna.
  18           73.   Since the 1990s, health and sustainability concerns, which range from
  19   fears of mercury poisoning to fury over dolphin bycatch, have taken their toll. So,
  20   too, has a national dietary shift away from Packaged Tuna.
  21           74.   As a result, domestic consumption of Packaged Tuna has steadily
  22   declined since 2004. Yet, as shown in Figure 1 below, which contains data through
  23   2014 and projections thereafter, the prices, as represented by the spread between
  24   dollar sales and volume sales of Packaged Tuna, increased steadily from 2004 to
  25   2014.
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   1   Figure 1
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  13         75.   In particular, Packaged Tuna saw a steady decline in U.S. per capita
  14   consumption between 2004 and 2014 (see Figure 2 below).
  15   Figure 2
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  26         76.   In addition, the use of environmentally destructive methods of fishing,
  27   including purse seiners and fish aggregating devices (“FADs”), have led to an
  28   oversupply of skipjack. Skipjack accounts for the vast majority of tuna sold in the
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   1   United States and is often described as “light tuna.” The following chart, taken
   2   from the Western & Central Pacific Fisheries Commission’s 2014 “Tuna Fishery
   3   Yearbook” published in 2015 shows that annual global catches of skipjack
   4   increased between 1990 and 2014:
   5         Figure 3
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  14         77.    Given the oversupply of raw tuna (the main ingredient in Packaged
  15   Tuna) and the decline in consumption of Packaged Tuna, one would expect
  16   rational businesses to reduce the prices of Packaged Tuna, but that did not happen.
  17   Instead, the Packaged Tuna prices paid by Plaintiff to Bumble Bee, StarKist and
  18   Chicken of the Sea remained flat or declined from at least as early as 2001 until the
  19   collusive price increases in 2004 went into effect, at which time prices began to
  20   rise, and continued to rise throughout the duration of the conspiracy, and remained
  21   elevated well into at least 2015.
  22         In a competitive environment, a decline in demand for a product will
  23   normally lead to a decline in the price of that product, all other things being equal.
  24   However, because Bumble Bee, StarKist, and Chicken of the Sea controlled the
  25   market and agreed with each other to fix the prices of Packaged Tuna, such prices
  26   were intentionally and collaboratively set at artificially high levels throughout the
  27   Relevant Period.
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   1         78.    The price increases since August 2004 were a direct result of
   2   Defendants’ conspiracy to fix the prices of Packaged Tuna in the United States. As
   3   a result, Plaintiff paid artificially inflated prices for Packaged Tuna purchased from
   4   Bumble Bee, StarKist, and Chicken of the Sea.
   5         B.     The DOJ’s Criminal Investigation
   6         79.    On or around December 18, 2014, Thai Union announced that it
   7   intended to acquire Bumble Bee. However, regulatory proceedings concerning the
   8   proposed merger revealed Defendants had engaged in an anticompetitive price-
   9   fixing conspiracy concerning packaged seafood, including Packaged Tuna.
  10         80.    On July 23, 2015, Thai Union suspended the preferential public
  11   offering to fund its proposed acquisition of Bumble Bee in light of a criminal
  12   investigation commenced by the DOJ. Thai Union disclosed that both Bumble Bee
  13   and Chicken of the Sea had received grand jury subpoenas relating to an antitrust
  14   investigation of packaged seafood, including Packaged Tuna. The publication
  15   Undercurrent News reported that “Thai Union held a conference with analysts on
  16   the suspension of the share offer, in which the company’s management said other
  17   US seafood producers have also received a subpoena requiring the production of
  18   relevant information to the DOJ.”
  19         81.    On December 3, 2015, the termination of the planned merger of
  20   Chicken of the Sea and Bumble Bee was announced. According to a DOJ press
  21   release:
  22
  23                “Consumers are better off without this deal,” said
                    Assistant Attorney General Bill Baer [(“Baer”)] of the
  24                department’s Antitrust Division. “Our investigation
  25                convinced us – and the parties knew or should have
                    known from the get go – that the market is not
  26
                    functioning    competitively   today,    and    further
  27                consolidation would only make things worse.”
  28
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   1         82.      As noted above, Bumble Bee and two Bumble Bee executives have
   2   pled guilty to price-fixing Packaged Tuna, in violation of the Sherman Act.
   3         C.       Pattern of Collusion
   4         83.      During the Relevant Period, the Packaged Tuna industry was rife with
   5   collusion, often stemming from the close interpersonal relationships that had
   6   developed over many years. Defendants Chicken of the Sea, Bumble Bee, and
   7   StarKist participated together in anticompetitive communications, including
   8   telephone calls (sometimes multiple times a day), text messages, emails (often
   9   using private email accounts to avoid detection), and frequent face-to-face
  10   meetings at pre-arranged locations, such as hotels and restaurants. In these
  11   meetings, emails, text messages and telephone calls, Defendants shared sensitive
  12   business and bid information, and entered into agreements to fix, raise, stabilize,
  13   and maintain prices of Packaged Tuna sold in the United States. Among other
  14   things, they agreed not to charge below a certain price, and to coordinate price
  15   increases.
  16         84.      Defendants had ample opportunities for collusion. Senior executives
  17   from Del Monte, StarKist, Bumble Bee, Chicken of the Sea, Dongwon, and Thai
  18   Union routinely attended trade shows and conferences during which they discussed
  19   Packaged Tuna pricing and other aspects of their anticompetitive conspiracy.
  20   Defendants regularly attended the multi-day biannual Infofish “tuna conference”
  21   — typically held in Bangkok, but never held in the United States (where there is
  22   more active antitrust enforcement) — as well as regular meetings of the
  23   International Seafood Sustainability Foundation (“ISSF”) and its governing body,
  24   the International Seafood Sustainability Association. Defendants also collaborated
  25   on many projects during the Relevant Period, including their joint “Tuna the
  26   Wonderfish” advertising campaign, the National Fisheries Institute’s (“NFI”) Tuna
  27   Council (formerly known as the U.S. Tuna Foundation), and the collective efforts
  28   of the ISSF.
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   1         85.    Frequent international trade meetings provided opportunities for
   2   fostering warm relationships with competitors and ultimately facilitated high-level
   3   collusion.
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   8         86.    Meetings hosted by the NFI and ISSF were typically limited to
   9   Defendants’ high-level executives, and perhaps one organizer from the trade
  10   associations. The organizers often had roots in the defendant companies.
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  21         87.    For example, the NFI’s “Tuna the Wonderfish” advertising campaign,
  22   which ran from early 2011 through early 2012, was designed to stem the tide of
  23   declining sales of Packaged Tuna in the United States. The “Tuna the Wonderfish”
  24   campaign gave Defendants ample opportunities to conspire to raise and fix
  25   Packaged Tuna prices. Although the campaign was unsuccessful in boosting
  26   consumption, Defendants nonetheless jointly implemented price increases at least
  27   three times in 2011 and 2012 in the face of falling demand.
  28
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   1         88.   There also were numerous interlocking relationships between Chicken
   2   of the Sea, Bumble Bee, and StarKist, which fostered frequent high-level
   3   discussions among the leadership of these companies. For example, between the
   4   late 1990s and 2009, StarKist and Chicken of the Sea had a co-packing agreement
   5   concerning their facilities in American Samoa.
   6         89.   During the Relevant Period, Bumble Bee and Chicken of the Sea also
   7   co-operated on seafood processing and packaging. Bumble Bee co-packed for
   8   Chicken of the Sea on the west coast at Bumble Bee’s Santa Fe Springs, California
   9   plant, while Chicken of the Sea co-packed for Bumble Bee on the east coast at its
  10   Lyons, Georgia plant.
  11         90.   During the Relevant Period, it was commonplace for former
  12   executives of one Defendant to later become executives at their former
  13   competitors. Within the past 20 years, numerous individuals have held executive or
  14   senior sales/marketing positions for more than one Defendant (while maintaining
  15   close interlocking relations with former colleagues), including, but not limited to:
  16   Chris Lischewski (VP of Procurement at StarKist from 1991 to 1998, and then
  17   President and CEO of Bumble Bee, from 1999 to present); Jan Tharp (Sr. VP of
  18   Supply Chain at StarKist, from December 2008 to July 2010, Sr. VP, Operations at
  19   Bumble Bee, from July 2010 to September 2012, and then Executive VP/COO at
  20   Bumble Bee, from September 2012 to present); J. Douglas Hines (Sr. VP, Sales &
  21   Marketing at Chicken of the Sea in the 1990s, joining Bumble Bee in 1997, where
  22   he served as Bumble Bee’s Executive VP and COO from September 2008 to
  23   September 2012); Joseph Clancy (VP Sales/Marketing at StarKist, from 1985 to
  24   2002, and then VP Retail Sales at Chicken of the Sea, from November 2002 to
  25   December 2010); Kevin McClain (VP of Supply Chain at Chicken of the Sea, from
  26   1979 to 2009, and then VP Resourcing at Bumble Bee, from 2009 to present);
  27   David Burt (General Manager – Marketing at StarKist from 2000 to 2004, and then
  28   VP Sales Specialty Markets at Bumble Bee, from March 2004 to present); Hubert
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   1   Tucker (Sales Manager at Chicken of the Sea, from December 1997 to July 2012
   2   and then Starkist’s Director of Sales Eastern Zone, from July 2012 to present);
   3   Donald Stanton (General Manager Inventory Control at StarKist, from 1985 to
   4   2001 and then VP Supply Chain at Bumble Bee, from October 2005 to January
   5   2009); and Dennis Hixson (VP Sales Specialty Markets at Chicken of the Sea,
   6   from 2005 to 2013, and then Sr. Retail Operations Manager at StarKist, from 2014
   7   to present).
   8         91.      The fluid movement of executives among Defendants resulted in a
   9   web of personal and professional relationships that facilitated anticompetitive
  10   agreements and frequent exchanges of confidential and future price information.
  11         92.      W. Scott Cameron, who recently pled guilty to price-fixing Packaged
  12   Tuna, has held senior sales positions at Bumble Bee since May 2000 and has
  13   served as Bumble Bee’s Sr. VP of Sales since May 2007. He frequently shared
  14   future pricing and customer information with the leadership of Chicken of the Sea
  15   and StarKist.      From October 2009 to September 2012, Cameron regularly
  16   communicated with Charles “Chuck” Handford, StarKist’s VP of Trade Marketing,
  17   about future pricing and customer information, sometimes several times per day.
  18         93.      During the Relevant Period, Cameron held frequent internal sales
  19   conference calls at Bumble Bee attended by numerous account managers. During
  20   these calls, he stated, inter alia, that he had been communicating with Chuck
  21   Handford of StarKist about future pricing for customers.
  22         94.      During the Relevant Period, Bumble Bee’s Cameron also spoke about
  23   future pricing with Frank Connelly, who was a Chicken of the Sea regional sales
  24   manager from at least 2000 until his death in April 2012.
  25         95.      Chris Lischewski, President and CEO of Bumble Bee from 1999 to
  26   present, regularly had meetings at his office with Chicken of the Sea executives.
  27   He also had discussions with StarKist executives by phone. Among others,
  28   Lischewski spoke frequently with Dennis Mussell Chicken of the Sea President
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   1   and CEO prior to 2005, John Signorino, Chicken of the Sea President and CEO,
   2   from January 2005 to October 2007, Shue Wing Chan (Signorino’s successor after
   3   October 2007), and Don Binotto of Del Monte/StarKist (StarKist CEO from the
   4   1990s through November 2010) to agree on pricing and customers. Lischewski
   5   and Kenneth Worsham, Sr. VP of Marketing at Bumble Bee since at least 2001,
   6   regularly attended meetings with Chicken of the Sea and StarKist executives.
   7   Lischewski attended meetings with competitors at least twice a year.
   8         96.   During the Relevant Period, Kenneth Worsham, Bumble Bee’s Sr. VP
   9   of Marketing since at least 2001, frequently discussed future pricing and shared
  10   customer opportunities with his father, Bob Worsham, a StarKist pricing
  11   consultant since the 1980s, and then shared StarKist’s future pricing information
  12   with executives at Bumble Bee. Kenneth Worsham recently pled guilty to price-
  13   fixing Packaged Tuna.
  14         97.   During the Relevant Period, Bumble Bee’s Don George discussed
  15   future pricing with former Chicken of the Sea associates, including Mike White.
  16   Don George was Sr. VP of Trade Marketing and Innovation at Chicken of the Sea
  17   from June 1979 until May 2006, when he became VP of Trade Marketing at
  18   Bumble Bee.
  19         98.   During the Relevant Period, Chicken of the Sea held weekly executive
  20   meetings on Fridays at 10:00 a.m. They were led by its CEO (John Signorino and
  21   later Shue Wing Chan), and attended by all department heads, including John
  22   Sawyer, Sr. VP Sales and Marketing, from 2006 until August 2013; Bob Blatt,
  23   CFO from the late 1990s to 2013; Jim Davet, Sr. VP Operations, from 2005 until
  24   2008; Mike White, Director of Marketing since the late 1980s; and Kevin
  25   McClain, VP of Supply Chain until 2009. At these meetings Sawyer, White, and
  26   Signorino/Chan discussed competitors’ future price increases for Packaged Tuna
  27   products. On multiple occasions, Sawyer presented the group with StarKist’s
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       COMPLAINT FOR VIOLATION OF THE            29
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1   future price lists (described as “market intelligence”), which Sawyer received from
   2   StarKist.
   3         99.     During the Relevant Period, Mike White, Chicken of the Sea’s
   4   Director of Marketing since the late 1980s, regularly contacted his counterparts at
   5   StarKist (including Joseph Tuza, a Del Monte executive and StarKist Sr. VP of
   6   Marketing, from August 2008 until November 2011), and Bumble Bee to confirm
   7   price quotations that customers claimed to have received from his competitors.
   8         D.      Defendants’ Overarching and Continuous Collusive Scheme
   9         100. Defendants’ overarching and continuous scheme to fix prices for
  10   Packaged Tuna began at least as early as 2004, as demonstrated by the following
  11   specific examples:
  12                1.      Collusion on Light Meat and White Meat Tuna Price
  13                        Increases in 2004 and 2006
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  23         102.
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  27         103.
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       COMPLAINT FOR VIOLATION OF THE            30
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           31
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   3         106. As a result of the discussions among the Chicken of the Sea, Bumble
   4   Bee and Del Monte/StarKist executives and employees between March and May
   5   2004, a conscious commitment to an unlawful common scheme, i.e., an agreement,
   6   developed among Defendants and co-conspirators to increase prices of canned tuna
   7   sold to Plaintiff and others in the U.S. by, among other conduct, coordinating price
   8   increase announcements or pricing terms, secretly and collusively exchanging
   9   pricing information and prospective pricing announcements and business plans,
  10   and collectively reducing quantity and restraining output.
  11         107.
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  23         108.
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       COMPLAINT FOR VIOLATION OF THE             32
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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           Del Monte’s 2005 fiscal year began in June 2004.
           COMPLAINT FOR VIOLATION OF THE          33
           SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   5         111. Pursuant to their agreement, all three brands, Chicken of the Sea,
   6   Bumble Bee, and StarKist, increased their net prices on light and white meat
   7   Packaged Tuna in June and July of 2004. This was followed by a list price increase
   8   by each Defendant that was announced in late August and early September of
   9   2004. By September 2, 2004, Bumble Bee, StarKist, and Chicken of the Sea had all
  10   collusively raised list prices on light meat Packaged Tuna by an additional $2.00
  11   per case in accordance with their unlawful agreement to increase Packaged Tuna
  12   prices to Plaintiff and others in the United States.
  13         112.
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  19         113.
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  24         114.
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       COMPLAINT FOR VIOLATION OF THE              34
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           35
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           36
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           37
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  17               2.     Collusion on Package Size Changes in 2007-08
  18        127.
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  26        128.
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       COMPLAINT FOR VIOLATION OF THE           38
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           39
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  25        134.
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       COMPLAINT FOR VIOLATION OF THE           40
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  27        139.
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       COMPLAINT FOR VIOLATION OF THE           41
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           42
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           43
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  18         149.
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  24         150.
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  27         151. As reflected above, Thai Union authorized Chicken of the Sea to go
  28   forward with the collusive downsizing scheme.
        COMPLAINT FOR VIOLATION OF THE          44
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1                3.    Collusion on 2008 List Price Increases
   2         152. Not content with making customers pay the same amount for a
   3   smaller package of tuna, Defendants also colluded to raise list prices for Packaged
   4   Tuna in 2008.
   5         153.
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  11         154.
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  25         156.
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       COMPLAINT FOR VIOLATION OF THE            45
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  18        159.
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  24        160.
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       COMPLAINT FOR VIOLATION OF THE           46
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   3        161.
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  11               4.     Collusion on 2010 Net Price Increases
  12        162.
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  22        163.
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  27        164.
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       COMPLAINT FOR VIOLATION OF THE           47
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  17        167.
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  25        168.
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       COMPLAINT FOR VIOLATION OF THE           48
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1        169.
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  11        171.
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  18        172.
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  21        173.
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       COMPLAINT FOR VIOLATION OF THE           49
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1         174.
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  11         176.
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  15         177.
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  17         178. On or about May 21, 2010, Bumble Bee issued its net price increase
  18   letter, which was effective in or around August 2010. All of the net price increase
  19   announcements were set at nearly identical levels. Like StarKist and Chicken of
  20   the Sea, Bumble Bee pretextually blamed fishing restrictions for its price increases.
  21                5.    Collusion on 2011 Price Increases
  22         179.
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       COMPLAINT FOR VIOLATION OF THE             50
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  11        181.
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  17        182.
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  22        183.
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  27        184.
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       COMPLAINT FOR VIOLATION OF THE           51
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   8         187.
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  12         188.
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  20         189.
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  22         190. On or around March 10, 2011, Bumble Bee announced to its brokers
  23   “broad scale list price increases” across many of its Packaged Tuna products,
  24   effective May 29, 2011, citing cost increases “with no signs of relief in the near
  25   future.”
  26         191.
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       COMPLAINT FOR VIOLATION OF THE           52
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  27        196.
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       COMPLAINT FOR VIOLATION OF THE           53
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   3        197.
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  12               6.     Collusion on List Price Increases In 2011-12
  13        199.
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  23        200.
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       COMPLAINT FOR VIOLATION OF THE           54
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           55
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  16         206.
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  25                7.    Collusion on Offering “FAD Free” Branded Tuna Products
  26         207. Defendants also conspired not to compete by collectively agreeing not
  27   to offer branded tuna products labeled as being “FAD free.” FAD-free tuna is tuna
  28   caught without the use of fish aggregation devices. Because FADs are considered
        COMPLAINT FOR VIOLATION OF THE          56
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1   unsustainable and destructive to ocean ecosystems, there is a growing demand
   2   among consumers for FAD-free tuna. However, FAD-free methods of catching
   3   tuna are costly. Defendants saw FAD-free tuna as a threat to their selling margins.
   4   However, if any one Defendant put out such a product, the others would have to
   5   follow or risk losing sales.
   6         208.
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  11         209.
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  26         210.
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       COMPLAINT FOR VIOLATION OF THE            57
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   3         211.
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   7         212.
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  11                8.    Collusion on Promotional Activity
  12         213.
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  24   VIII. THE UNITED STATES PACKAGED SEAFOOD MARKET IS
  25         CONDUCIVE TO COLLUSION
  26         214. The structure and characteristics of the Packaged Tuna market in the
  27   United States are conducive to a price-fixing agreement.
  28
       COMPLAINT FOR VIOLATION OF THE            58
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1         215. Packaged Tuna is a commodity product sold directly to retail grocery
   2   chains, grocery wholesalers, and food distributors. Packaged Tuna varieties contain
   3   similar amounts of seafood, and are marketed in packages, including, but not
   4   limited to, cans, pouches, and cups. Purchasers of Packaged Tuna are more likely
   5   to be influenced by price than anything else when making a purchasing decision.
   6         216. There are substantial barriers precluding, or reducing, entry into the
   7   Packaged Tuna market, including high start-up costs (processing plants can cost
   8   tens of millions of dollars to build and maintain), manufacturing expertise, access
   9   to raw materials, and access to distribution channels. Therefore, Bumble Bee,
  10   Chicken of the Sea, and StarKist (and the related entities named herein) could
  11   collectively raise prices, and, in fact, raised prices, without fear of being undercut
  12   by new entrants.
  13         217. Purchasers routinely have sourced and do source virtually all their
  14   Packaged Tuna from Bumble Bee, Chicken of the Sea, and StarKist. Retailers and
  15   distributors must carry Defendants’ product lines in order to stay competitive in the
  16   markets in which they do business. As a result, Bumble Bee, StarKist, and Chicken
  17   of the Sea dominated the United States Packaged Tuna market during the Relevant
  18   Period, and continue to do so.
  19         218. Defendants possessed significant market power to raise prices for
  20   Packaged Tuna above competitive levels in the United States with a combined
  21   market share of 80-85% during 2004-2015. Upon information and belief, they
  22   conspired to ensure the stabilization and maintenance of their respective market
  23   shares in the Packaged Tuna market despite declining demand.
  24         219. There are no economically reasonable substitutes for Packaged Tuna.
  25   Alternative forms of seafood, such as frozen seafood or fresh seafood, require
  26   refrigeration and preparation, such as cooking, before they can be consumed, and
  27   lack the convenience, consistent portion size, and ease of use of Packaged Tuna.
  28
       COMPLAINT FOR VIOLATION OF THE             59
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1   IX.    PLAINTIFF SUFFERED ANTITRUST INJURY
   2          220. During the Relevant Period, Defendants’ conspiracy had the following
   3   effects, among others:
   4          a.     Price competition was restrained or eliminated with respect to
   5   Packaged Tuna; and
   6          b.     The prices of Packaged Tuna were fixed, raised, maintained, or
   7   stabilized at artificially inflated levels.
   8          221. During the Relevant Period, Defendants charged supra-competitive
   9   prices for Packaged Tuna sold to Plaintiff. By reason of Defendants’ alleged
  10   violations of the antitrust laws, Plaintiff sustained damages, injury, and harm to
  11   their businesses or property in an amount to be determined, having paid higher
  12   prices for Packaged Tuna than they otherwise would have paid absent Defendants’
  13   alleged illegal contract, combination, or conspiracy. This is an antitrust injury of
  14   the type the antitrust laws were meant to punish and prevent.
  15   X.     TOLLING OF THE STATUTE OF LIMITATIONS
  16          222. Plaintiff had neither actual nor constructive knowledge of the facts
  17   constituting their claims for relief.
  18          223. Plaintiff did not discover, and could not have discovered through the
  19   exercise of reasonable diligence, the existence of the conspiracy alleged herein
  20   until at least July 2015. Indeed, the conspiracy was so organized and effective that
  21   it was only accidentally discovered by the DOJ in the process of reviewing internal
  22   company documents relating to the proposed merger between Chicken of the Sea
  23   and Bumble Bee.
  24          224. Defendants engaged in a secret conspiracy and did not reveal facts
  25   that would put Plaintiff on inquiry notice that there was an agreement to fix prices
  26   for Packaged Tuna. Defendants’ collusive communications were conducted
  27   through private meetings, telephone calls, text messages, and emails between and
  28   among their executives that were not intended to be disclosed and were not
        COMPLAINT FOR VIOLATION OF THE       60
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1   disclosed beyond an inner circle of trusted high-level colleagues. Defendants’
   2   communications with customers also offered plausible pretextual reasons for their
   3   similar price movements, Plaintiff did not discover, and could not have discovered
   4   through the exercise of reasonable diligence, the existence of the conspiracy, and
   5   Defendants’ and their co-conspirators’ involvement in the conspiracy, until July
   6   23, 2015, when the DOJ’s investigation first became public.
   7         225.
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  11         226. Because the conspiracy was actively concealed through secret
  12   communications among Defendants and pretextual communications to customers
  13   until July 23, 2015, Plaintiff was unaware of Defendants’ and their co-
  14   conspirators’ unlawful conduct, and did not know they were paying artificially
  15   high prices for Packaged Tuna.
  16         227. The affirmative acts of Defendants and their co-conspirators,
  17   including acts in furtherance of the conspiracy, were wrongfully concealed and
  18   carried out in a manner that precluded detection.
  19         228. Defendants and their co-conspirators agreed among themselves not to
  20   discuss publicly, or otherwise reveal, the nature and substance of the acts and
  21   communications in furtherance of their illegal conspiracy.
  22         229. Defendants and their co-conspirators met and communicated secretly
  23   concerning the pricing and marketing of Packaged Tuna to avoid detection.
  24         230. Throughout the Relevant Period, Defendants secretly agreed to
  25   implement very similar or identical price increases on Packaged Tuna at similar
  26   times. To avoid detection by their customers, including Plaintiff, Defendants issued
  27   announcements and made other communications to the market that were intended
  28   to mislead their customers, including Plaintiff, into believing that the pricing
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   1   actions were taken independently by each Defendant because of cost increases that
   2   Defendants falsely claimed were unavoidable and industry-wide.
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   3         234. On September 2, 2004, Del Monte (at the time the owner of StarKist
   4   and the issuer of all StarKist price increases) held an earnings conference call on
   5   which its Chair, Rick Wolford, pretextually attributed the joint price increases not
   6   to collusion, but to a “similar experience that we all have with tight Skipjack as
   7   well as tight albacore supplies.”
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  16         236. Plaintiff accepted and relied on the proffered reasons for the price
  17   increases, in some cases incorporating the explanation into their contemporaneous
  18   internal communications about why all three suppliers were increasing their prices
  19   in very similar amounts.
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  26         238.
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       COMPLAINT FOR VIOLATION OF THE           64
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   6         245. On or around June 6, 2008, Chicken of the Sea sent a letter to its
   7   brokers giving the following rationale for price increases that occurred at the same
   8   time as the downsizing (prices were increased for remaining 6 oz. cans, and the
   9   price for 5 oz. cans was set at the same level as the price for the 6 oz. cans):
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                    [l]ight meat tuna raw material prices have gone up over
  11                $1,000 MT over the last two years. Prices are not
  12                expected to retreat due to the strong worldwide demand
                    and a weak Dollar. Combine this fact with increases in
  13
                    production and supply chain costs Chicken of the Sea is
  14                announcing a list price increase on all chunk light tuna
  15                items.. . .

  16   The letter also cited the following “increases unrelated to fish price: 15% increase
  17   in packaging; 29.5% increase in land and ocean freight; 30.0% increase in cannery
  18   utility; 33.3% increase in labor.”
  19         246. Similarly, a published article at the time of the announcement of the
  20   can resizing stated that “a customer service representative for StarKist that
  21   explained that tuna prices have reached an all-time high, and coupled with the
  22   increased costs of transportation and other ingredients, they had to make a
  23   change.” And another article said “in August of 2008 when the move had been
  24   implemented, StarKist stated that it did this primarily for environmental reasons,
  25   including the purpose of “sav[ing] two million gallons of water a year, while only
  26   taking out two teaspoons of tuna from each can.” The existence of a price-fixing
  27   conspiracy as a reason for the price increase was not disclosed.
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   1         247. On August 27, 2008, Del Monte issued a price announcement to all of
   2   its “Valued Customers,” advising of a StarKist price increase, effective November
   3   3, 2008, due to “continued escalation of global Tuna fish prices,” and stating that
   4   “[o]ver the next several days our sales agency and/or local sales management will
   5   be in contact with you to provide additional details and review plans that will
   6   continue the growth of our mutual business.” In accordance with its announcement,
   7   Del Monte’s agents and representatives contacted its customers over the next
   8   several months to provide detailed, but misleading, explanations for both recent
   9   and forthcoming StarKist price increases.
  10         248. For example, on or about October 1, 2008, Plaintiff Affiliated Foods,
  11   Inc. received a copy of a presentation from a Del Monte/StarKist sales agent
  12   falsely blaming the price increases on “significant fish price inflation since the start
  13   of 2007,” and stating that additional increases would be necessary because “[s]ince
  14   the 7/21/08 price increase, fish costs have continued to increase. Light Meat costs
  15   are up an additional 18% and White Meat costs are up an additional 14%,” driven
  16   in part by “high fuel costs.” Del Monte/StarKist’s statements were misleading
  17   because they failed to disclose that the true reason for the increase was Defendants’
  18   illegal agreement.
  19         249.
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  22         250. The 2008 collusive price increase agreement was particularly difficult
  23   to detect because it was formed through meetings in Bangkok and phone calls
  24   between a close-knit group of high-level executives at the competing firms. The
  25   close ties and trust among executives, many of whom had previously worked
  26   together before moving to competing firms, made discovery of the conspiracy by
  27   their customers impossible.
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   1         251. Pretextual and misleading reasons for price increases were included in
   2   Defendants’ communications with Plaintiff about Packaged Tuna price increases
   3   throughout the Relevant Period.
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  12         253.
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  16         254. In its March 2011 announcement of a price increase effective in May
  17   2011, StarKist cited increases in “Crude index,” “Packaging costs,” and “Fish
  18   costs.” In its January 2012 announcement of a price increase effective March 2012,
  19   StarKist cited increases in the costs of crude oil, metal, and transportation, as well
  20   as “Record high fish costs.” Chicken of the Sea, in its January 2012 announcement
  21   of a price increase effective March 2012, placed the blame on “High fish prices”
  22   and “higher raw material costs.” Again in its March 30, 2012 announcement to
  23   “Our Valued Customers” of another price increase effective July 2012, Bumble
  24   Bee cited “global inflation, transportation cost increases stemming from global
  25   demand on fossil fuel, and resource materials (most notably on fish).” And
  26   StarKist, in its April 2012 announcement to “Our Valued Customers” of a price
  27   increase, effective in July 2012, cited “numerous costs increases” and escalating
  28   “fish costs” as the reasons for the price increase.         These statements were
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   1   misleading because they failed to disclose the true reason for the increase was
   2   Defendants’ illegal agreement.
   3         255. In connection with the 2011-12 price increases discussed above,
   4   Chicken of the Sea, StarKist, and Bumble Bee interacted mostly through
   5   telephonic communications, emails sent from private accounts with misleading
   6   subject lines, or face-to-face meetings, as described above. By these means,
   7   Defendants ensured that a written record of their interactions with each other
   8   concerning this price increase was not created. There was no way Plaintiff could
   9   have discovered the existence of these communications any earlier than they did.
  10         256. None of these communications ever mentioned Defendants’ collusion
  11   or the fact that, as DOJ’s Bill Baer stated in December 2015, their industry was
  12   “not functioning competitively.”
  13         257. The guilty plea of Kenneth Worsham of Bumble Bee further raises the
  14   inference that the conspiracy was affirmatively concealed.
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  21         258. Additionally, Lischewski took steps to conceal his own involvement
  22   (as well as Lion Capital and Lion Americas’s involvement) in the conspiracy.
  23   Although Bumble Bee produced millions of pages of documents to Plaintiff in this
  24   case, crucial e-mails between Lischewski and executives of Lion Capital and Lion
  25   Americas were not produced by Bumble Bee, and Plaintiff did not obtain these
  26   documents until they executed a subpoena on Lion Capital. Upon information and
  27   belief, Lischewski deleted these incriminating e-mails in an attempt to thwart
  28   Plaintiff’s (and DOJ’s) investigation of his unlawful conduct. Indeed, the Grand
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   1   Jury investigating Defendants’ conspiracy indicted Lischewski for his role in that
   2   conspiracy and the indictment expressly alleged that he deleted emails to conceal
   3   his unlawful conduct.
   4         259. Plaintiff could not have discovered the alleged conspiracy at an earlier
   5   date by the exercise of reasonable diligence because of the deceptive practices and
   6   secrecy techniques employed by Defendants and their co-conspirators so as to
   7   avoid detection of, and fraudulently conceal, their contract, combination, or
   8   conspiracy. Defendants’ conspiracy was fraudulently concealed by various means
   9   and methods, including, but not limited to, secret meetings, misrepresentations to
  10   customers,    utilization   of   personal   email     accounts,   and     surreptitious
  11   communications among themselves and their co-conspirators via telephone and in-
  12   person meetings so as to prevent the existence of written records.
  13         260. Because the alleged conspiracy was affirmatively concealed by
  14   Defendants and their co-conspirators until July 23, 2015, Plaintiff had no
  15   knowledge of it, or any facts or information that would have caused a reasonably
  16   diligent person to investigate whether a conspiracy existed.
  17         261. None of the facts or information available to Plaintiff prior to July 23,
  18   2015, if investigated with reasonable diligence, could or would have led to the
  19   discovery of the conspiracy prior to July 23, 2015.
  20         262. Defendants thus actively misled their customers about the price-fixing
  21   scheme. Their various justifications for price increases did not disclose that they
  22   had agreed among themselves to fix, raise or stabilize the price of Packaged Tuna.
  23   Defendants’ justifications for their price increases were also misleading, to the
  24   extent they were true even in part, because they failed to disclose that the price
  25   increases in fact resulted from their illegal agreement and conspiracy.
  26         263. Because Defendants’ agreement, understanding and conspiracy was
  27   kept secret, Plaintiff was unaware of Defendants’ unlawful conduct alleged herein,
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   1   and did not know they were paying artificially high prices for Packaged Tuna
   2   during the Relevant Period.
   3         264. As a result of Defendants’ and their co-conspirators’ fraudulent
   4   concealment of the price-fixing conspiracy, the running of any statute of
   5   limitations is tolled with respect to Plaintiff’s claims of anticompetitive conduct
   6   alleged in this complaint.
   7   XI.   DISCOVERY IS NECESSARY TO DETERMINE THE FULL SCOPE
   8         OF THE CONSPIRACY
   9         265. Discovery is necessary to determine the full scope of the conspiracy,
  10   including the time frame, products and participants. Plaintiff reserves the right to
  11   amend or supplement this Complaint to add other Defendants, claims, time
  12   periods, products, or other allegations based upon discovery and further
  13   investigation. While there has not been sufficient time thus far to review all the
  14   documents produced by Defendants to date, Defendants’ and non-parties will
  15   produce more documents, and discovery is just starting in earnest. However, there
  16   are documents produced by Defendants that reveal communication and possible
  17   coordination between at least two Defendants regarding certain other packaged
  18   seafood products, including shelf-stable packaged salmon and specialty seafood
  19   products (shelf-stable packaged clams, mackerel, oysters, shrimp, and sardines)
  20   dating back to at least 2006. For example,
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  24   XII. ADDITIONAL ALLEGATIONS AGAINST DEFENDANTS LION
  25         CAPITAL, LION AMERICAS, AND BIG CATCH
  26                A.    Additional Guilty Pleas
  27         266. Bumble Bee recently pled guilty to its role in a conspiracy to fix
  28   prices of packaged-seafood products in the United States. The Department of
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   1   Justice issued a press release on May 8, 2017 detailing the nature of the plea: “In
   2   addition to agreeing to plead guilty, Bumble Bee has agreed to pay a $25 million
   3   criminal fine, which will increase to a maximum criminal fine of $81.5 million,
   4   payable by a related entity [Big Catch Cayman LP], in the event of a sale of
   5   Bumble Bee subject to certain terms and conditions. Bumble Bee has also agreed
   6   to cooperate with the Antitrust Division’s ongoing investigation.”7
   7         267. Steve Hodge recently pled guilty to his role in the price-fixing
   8   conspiracy during his tenure at StarKist.       Hodge admitted to (and has been
   9   convicted of) price-fixing canned tuna (and other packaged seafood products) in
  10   violation of the Sherman Act for the period between at least 2011 until 2013.
  11               B.     The Lion Entities
  12         268. Defendant Lion Capital LLP (“Lion Capital”) is a British private
  13   equity firm specializing in investments in the consumer sector. Lyndon Lea co-
  14   founded the company in 2004. Lion Capital purchased Bumble Bee in 2010 for
  15   approximately $980 Million from Centre Partners Management LLC, a United
  16   States-based private equity firm.        According to its website, Lion Capital
  17   maintained offices in New York and Los Angeles during a time period covered by
  18   the alleged conspiracy. Lion Capital’s Los Angeles office was responsible for
  19   overseeing the Bumble Bee investment. The Lion Capital members in this office
  20   included Eric Lindberg, Jeff Chang, and Jacob Capps. As members of a limited
  21   liability partnership incorporated under the laws of the United Kingdom, the
  22   conduct of Lindberg, Chang, and Capps are imputed to Lion Capital as a matter of
  23   both U.S. and British law.
  24         269. Defendant Lion Capital (Americas), Inc. (“Lion Americas”) is another
  25   parent company of Bumble Bee that is identified as such in Bumble Bee’s plea
  26   agreement. It is the subsidiary through which Lion Capital operates in the United
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                   https://www.justice.gov/opa/pr/bumble-bee-agrees-plead-guilty-price-
  28   fixing.
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   1   States.   There is no meaningful distinction between Lion Capital and Lion
   2   Americas (together, the “Lion Entities”). Lion Americas is headquartered in the
   3   same Los Angeles office as Lion Capital. In terms of personnel, Lion Americas
   4   has significant overlap with Lion Capital. For example, Lindberg was both a
   5   director of Lion Americas and a member at Lion Capital, while Capps was
   6   President of Lion Americas and a member at Lion Capital. In other words, the key
   7   executives involved on the Bumble Bee account during the relevant period were
   8   concurrently both Lion Americas and Lion Capital directors and officers. During
   9   the relevant period, there is no indication that Lindberg, Capps, and Chang ever
  10   made any attempt to distinguish their work for Lion Capital versus Lion Americas,
  11   such as by identifying that they were appearing at a Bumble Bee Board of Director
  12   Meeting as a Lion Capital partner checking on its investment as opposed to as a
  13   director of Lion Americas in its management capacity (or vice versa). During the
  14   relevant time period, Lindberg, Capps, and Chang never made any distinction
  15   between acts they took as Lion Capital members or as Lion Americas executives or
  16   directors. Additionally, Lion Americas and Lion Capital use the same website
  17   without distinguishing between the two entities.8
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  21         270. Lion Capital and Lion Americas participated in the conspiracy alleged
  22   in this Complaint through Lindberg, Chang, and Capps (as well as other employees
  23   of both entities), and the actions taken by these individuals in furtherance of the
  24   conspiracy (as alleged below) were taken on behalf of both Lion Capital and Lion
  25   Americas in their official capacities as senior executives of both entities and as
  26   members of Lion Capital.
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                    https://www.bloomberg.com/profiles/companies/0058736D:US-lion-
  28   capital-americas-inc.
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   1         271. Although Lindberg, Chang, and Capps were members of Lion Capital
   2   and also held titles at Lion Americas, each was unequivocally an employee of Lion
   3   Capital.
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  13         272.
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  20         273. Although Lea was actively involved in managing Lion Capital’s
  21   investment in Bumble Bee and attended most Bumble Bee board meetings as a
  22   member of its board of directors, he assigned Lindberg to be principally
  23   responsible for managing Lion Capital’s investment in Bumble Bee, and he
  24   assigned Capps and Chang to assist Lindberg.        Accordingly, all the conduct
  25   detailed in this Complaint undertaken by Lindberg, Chang, and Capps was
  26   performed at the direction and under the close supervision of Lea, as part of
  27   Lindberg’s, Chang’s and Capps’ duties and responsibilities to Lion Capital.
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   1         274. At all times relevant to this Complaint, Lion Americas acted as the
   2   agent of Lion Capital. In fact, in filing its Form ADV, the uniform form used by
   3   investment advisers to register with the SEC and state securities authorities, Lion
   4   Americas answered yes to the question “Do you control or are you controlled by
   5   the related person [Lion Capital LLP]?” (emphasis in original). Also, Lion Capital
   6   has asserted that Lion Americas exists to provide investment advice to Lion
   7   Capital about its U.S.-based portfolio companies (Bumble Bee included).
   8   Accordingly, but for Lion Americas’ existence, Lion Capital would have
   9   performed this function itself.
  10         275. Lion Americas would not exist but for Lion Capital. Lion Americas
  11   exists solely to manage Lion Capital investment vehicles. Lion Capital wholly
  12   owns Lion Americas and they act as a single enterprise: anything Lion Americas
  13   does to increase the profitability of Lion Capital’s investment companies is
  14   designed to serve and increase the investments of Lion Capital. They thus have a
  15   complete unity to interests and common design to serve Lion Capital’s business
  16   and increase the profitability and returns of Lion Capital’s investment vehicles.
  17   Put another way, Lion Capital and Lion Americas have no distinct economic
  18   interests; they function as a single economic unit.
  19         276. Lion Americas also performed additional functions that Lion Capital
  20   would have had to perform, but for Lion Americas.
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   5         277. Additionally, due to Lea’s ability to dictate the day-to-day
   6   responsibilities of Lion Capital’s members, Lion Capital has complete control and
   7   discretion over the day-to-day operations of Lion Americas.
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  12         278. Further, Lion Americas was wholly dependent on Lion Capital for
  13   funding. Upon information and belief, Lion Americas had no source of revenue
  14   independent of Lion Capital, nor did Lion Americas have any direct, independent
  15   affiliation with Lion Capital’s investment funds.     Thus, Lion Americas acted
  16   entirely at the direction of Lion Capital and was entirely dependent on Lion Capital
  17   for funding.
  18         279. Defendant Big Catch Cayman LP aka Lion/Big Catch Cayman LP
  19   (“Big Catch”) is a holding company that wholly owns Bumble Bee. Big Catch was
  20   established in November 2010, and its principal place of business is c/o Lion
  21   Capital (Americas) Inc., 888 7th Avenue, 43rd Floor, New York, N.Y. 10019. Big
  22   Catch is the entity referenced in Bumble Bee’s criminal plea agreement as the
  23   entity that would receive the proceeds from the sale of Bumble Bee. Based on this
  24   fact, the DOJ required that Big Catch must pay up to $81.5 million in criminal
  25   fines in the event that Bumble Bee is sold, in order to prevent Big Catch and its
  26   investors (including Lion Capital) from being unjustly enriched from the unlawful
  27   conduct committed by Bumble Bee.
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   1         280. Big Catch is a shell company and does not engage in any operations
   2   separate from those of Lion Capital and Bumble Bee. Big Catch has no day-to-day
   3   activities, does not hold board meetings, has no offices, and has no employees.
   4   Lion Capital’s funds are the ultimate owner of Big Catch, and
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   6           Thus, Big Catch is controlled entirely by Lion Capital and Lion Capital’s
   7   executives make any and all decisions for Big Catch. Big Catch’s business is Lion
   8   Capital’s business, and as a result, there is a unity of interest between Big Catch
   9   and Lion Capital.
  10         281. Additionally, the corporate veil between Big Catch and Lion Capital
  11   must be pierced and disregarded in order to prevent fraud and injustice. Big Catch
  12   was created by Lion Capital in bad faith, and it exists only to serve as a vehicle
  13   both to funnel conspiracy proceeds from Bumble Bee to Lion, and also to attempt
  14   to insulate Lion from its involvement in the price-fixing conspiracy alleged in this
  15   Complaint.
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  17                                                          Lion knew that these targets
  18   could not be reached but for Bumble Bee’s continued participation in the
  19   conspiracy, and deliberately set these targets to incentivize and induce the unlawful
  20   actions undertaken by these individuals in furtherance of the conspiracy alleged in
  21   this Complaint.
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  14         283. Accordingly, Big Catch is liable for its role in the conspiracy because
  15   it is the alter ego of Lion Capital.
  16         284. Lion Capital, Lion Americas, and Big Catch are all defined as “parent
  17   companies” in Bumble Bee’s Plea Agreement with the DOJ.               (Lion Capital,
  18   through its control of Bumble Bee’s board of directors, expressly approved this
  19   agreement). Additionally, Bumble Bee is a wholly-owned subsidiary of Big Catch,
  20   and Lion Capital maintains equitable ownership of both Bumble Bee and Big
  21   Catch.
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  25                                                                                Further,
  26   Lion Capital held itself out as Bumble Bee’s owner during conspiracy meetings,
  27   and leveraged its control of Bumble Bee to meet with Dongwon and Thai Union
  28   for the purpose of policing the conspiracy and ensuring its effectiveness.
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   1         285. As described below, Lion Capital and Lion Americas directly
   2   participated in the conspiracy through Lea, Lindberg, Chang, and Capps (as well as
   3   other Lion Capital employees). The conduct of Lindberg, Chang, and Capps is
   4   legally imputed to Lion Capital because: (1) as members of a Limited Liability
   5   Partnership formed under British law, the actions of Lindberg, Chang, and Capps
   6   bind the company as a matter of law; (2) Lindberg, Chang, and Capps are
   7   employees of Lion Capital and, because all acts that each committed, as alleged in
   8   this Complaint, were within the scope of Lindberg’s, Chang’s, and Capps’
   9   employment for Lion Capital, Lion Capital is vicariously liable for their conduct
  10   under the principle of respondeat superior; and (3) Lindberg, Chang, and Capps
  11   are agents of Lion Capital because their conduct described in this Complaint was
  12   committed with the knowledge and at the direction of Lea (Lion Capital’s
  13   managing partner). As further detailed below, Lion Capital and Lion America
  14   directly participated in the conspiracy by: (1) attending meetings with the owners
  15   of COSI IThai Union) and StarKist (Dongwon) at which Lion Capital and Lion
  16   Americas agreed to direct Bumble Bee to continue to fully support the
  17   conspiracy’s various pricing agreements; and (2) using Lion Capital’s control of
  18   Bumble Bee to ensure that its promises to Thai Union and Dongwon were met.
  19   Big Catch participated in the conspiracy as the alter ego of Lion Capital.
  20                C.    Lion Directly Participated in the Conspiracy
  21         286. The Lion Entities directly participated in the conspiracy alleged in this
  22   Complaint and purposefully directed this conduct at the United States (including
  23   the forum State). Lion Capital and Lion Americas were aware of the conspiracy,
  24   took acts in furtherance of the conspiracy, and knowingly accepted the proceeds of
  25   Bumble Bee’s unlawful conduct.
  26         287. Lion Capital and Lion Americas are sophisticated companies, and
  27   during their 2010 due diligence of Bumble Bee in preparation for the acquisition,
  28   the Lion Entities had access to both Bumble Bee senior executives and others who
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   1   were key members of the conspiracy, as well as Bumble Bee financial and other
   2   records that revealed the existence of the conspiracy. Upon information and belief,
   3   Lion Capital and Lion Americas learned of the ongoing conspiracy from these
   4   Bumble Bee individuals or records, or both, prior to Lion Capital’s acquisition of
   5   Bumble Bee.
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  12                      and because Lion Capital’s due diligence surely also revealed
  13   the dire structural economic conditions facing the packaged tuna industry in the
  14   United States alleged in Section VII.A. of this Complaint (such as declining
  15   demand), it is implausible that Lion Capital – a highly sophisticated investment
  16   entity – would not have connected the dots and determined that these successful
  17   pricing actions were the result of anything other than collusion. (This inference is
  18   further compelled based on Lion Capital and Lion Americas’ openly discussing the
  19   conspiracy with Bumble Bee and taking acts in furtherance of the conspiracy even
  20   before the acquisition was completed, as described below).
  21         288. It bears noting that later, when the DOJ conducted its due diligence
  22   review of Thai Union’s announced plan in late 2014 to purchase Bumble Bee from
  23   Lion, DOJ discovered by late 2015 that “the parties knew or should have known
  24   from the get go – that the [packaged seafood] market is not functioning
  25   competitively today…”9 (At the time, Thai Union and Bumble Bee called off their
  26   deal.) In other words, a sophisticated entity with non-public access to Bumble
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                   https://www.justice.gov/opa/pr/chicken-sea-and-bumble-bee-abandon-
  28   tuna-merger-after-justice-department-expresses-serious.
        COMPLAINT FOR VIOLATION OF THE          80
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   1   Bee’s executives (if they were truthful) and records regarding the company’s
   2   packaged seafood business, pricing and communications with competitors would
   3   have discovered reasonably soon, i.e., “from the get go,” the existence of the
   4   conspiracy. DOJ’s statement further supports the reasonable inference that Lion
   5   Capital and Lion Americas learned about the ongoing conspiracy during their due
   6   diligence of Bumble Bee before the 2010 acquisition.
   7         289. The fact that Lion Capital and Lion Americas learned about the
   8   conspiracy and what had gone on before each entity joined the conspiracy in 2010
   9   is further supported by the Lion Entities’ conduct even before the acquisition of
  10   Bumble Bee closed. For example, before Lion Capital announced its purchase of
  11   Bumble Bee in late 2010, Lion executives began interacting with the owners of
  12   COSI and StarKist.
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       COMPLAINT FOR VIOLATION OF THE           81
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  20                                                                – it is apparent that the
  21   Lion Entities joined the conspiracy in November 2010 with knowledge of the
  22   conspiracy and the price-fixing activities that had gone on before November 2010.
  23   Further, it is apparent from Lion Capital and Lion America’s subsequent conduct
  24   in furtherance of the conspiracy that, when they joined the conspiracy in November
  25   2010, they did so with the intent to pursue the same anticompetitive objectives as
  26   their co-conspirators. In any event, Lion Capital and Lion Americas subsequently
  27   participated in the conspiracy after acquiring Bumble Bee.
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       COMPLAINT FOR VIOLATION OF THE            82
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1         292. The Lion Entities and Bumble Bee were well matched for purposes of
   2   the conspiracy. After buying Bumble Bee, Lion Capital sought investment grade
   3   returns for its investors. Bumble Bee’s ongoing participation in the conspiracy at
   4   the time that Lion Capital acquired Bumble Bee provided Lion Capital with the
   5   opportunity to realize supra-competitive profits from Bumble Bee’s business,
   6   which in turn would increase Bumble Bee’s apparent market value and eventual
   7   sale price. This is just what occurred, as the supra-competitive prices and revenue
   8   that the conspiracy delivered to Bumble Bee (before Lion siphoned the money)
   9   raised Bumble Bee’s apparent market value such that, in late 2014, Thai Union was
  10   going to pay $1.51 billion for Bumble Bee after Lion Capital had bought Bumble
  11   Bee for $980 million four years earlier.
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  19         294. Throughout the conspiracy, Lion Capital and Lion Americas were
  20   involved in the day-to-day operations of Bumble Bee. For example, when Lion
  21   Capital announced a potential transaction with Thai Union in 2014, Lea (founder
  22   of Lion Capital and an officer of both Lion Capital and Lion Americas) 10 gave a
  23   statement about the Lion Entities’s role in Bumble Bee’s operations from 2010 to
  24   2014: “We are proud to have played a significant role in the evolution of Bumble
  25         10
                Although Lea is an officer of Lion Americas, Lion Americas has taken the
  26   position in this litigation that Lea is exclusively a Lion Capital employee, and as
  27   such, Lion Americas does not have custody or control over Lea’s custodial files.
       Lion Americas has not taken this position with respect to Lindberg, who was also a
  28   director of Lion Americas (without holding any other title)
        COMPLAINT FOR VIOLATION OF THE             83
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   1   Bee over the last 4 years and would like to thank our partners, Chris [Lischewski]
   2   and the management team, for helping us achieve such a successful return on our
   3   investment.” Lion Americas’ and Lion Capital’s heavy involvement in the daily
   4   operations of Bumble Bee was consistent with the Lion Entities’ business
   5   philosophy of getting “down to a very granular knowledge” of the businesses that
   6   Lion owned.
   7         295. In fact, the Lion Entities’ website advertises Lion Capital as a private
   8   equity firm that closely manages the business affairs of the companies in which it
   9   invests. The website states that Lion Capital “ensure[s] that [its] companies have
  10   the best management talent to execute the vision that we develop in a collaborative
  11   partnership” while never forgetting “the responsibility for successful outcomes in
  12   our companies rests with us [Lion Capital].” Lea echoed this sentiment in an
  13   interview on the website: “If all they [companies Lion Capital acquires] want is a
  14   check, there are plenty of private equity firms that are delighted to write you a
  15   check and let you get on with your business. That’s not us…We’re not good at
  16   that. What we’re good at doing is being your partner.” Further, a video on the
  17   Lion Entities’ website states that: “We [Lion Capital] built a team with an intimate
  18   knowledge of the way consumers and brands interact, allowing us to work with
  19   companies in a very different way to the average private equity firm…We work
  20   closely with management to see exactly what a brand is capable of achieving, and
  21   then take it to new heights…. We focus solely on retail and consumer businesses
  22   so our team is uniquely positioned to work with management to identify the right
  23   strategies for revitalizing operations.”
  24         296. Consistent with the Lion Entities’ business philosophy and website,
  25   when Lion Capital first acquired Bumble Bee, Lion Capital and Lion Americas
  26   took various actions to ensure that they could monitor and control Bumble Bee’s
  27   business. As Lischewski told his employees in an internal memorandum at the
  28   time of the acquisition of Bumble Bee, the Lion Entities team planned to be
        COMPLAINT FOR VIOLATION OF THE       84
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1   “actively involved” with the business. Lion Capital implemented this strategy of
   2   active involvement when it acquired Bumble Bee and thereafter during the
   3   conspiracy. For example: First, Lion Capital placed its own executives on Bumble
   4   Bee’s board and throughout its parent companies. Lion Capital executives Lea,
   5   Lindberg, and Capps, sat on Bumble Bee’s board. Currently, three of the four
   6   board members of Bumble Bee are Lion Capital executives.
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       COMPLAINT FOR VIOLATION OF THE           85
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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   1         298. Not only were the Lion Entities regularly receiving information about
   2   Bumble Bee during the conspiracy, but the Lion Entities executives took an active
   3   role in making decisions about Bumble Bee’s operations.
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       COMPLAINT FOR VIOLATION OF THE           86
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           87
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           88
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           89
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           90
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           91
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           92
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           94
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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       COMPLAINT FOR VIOLATION OF THE           95
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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  19         316. In addition to what the Lion Entities team learned in their involvement
  20   in Bumble Bee’s business, Lischewski served as the Lion Entities’ eyes and ears at
  21   Bumble Bee, updating Lion Capital and Lion Americas with confidential
  22   information about other Defendants and the status of collusive agreements with
  23   and information from Defendants.
  24         317. Based on the conspiracy, Thai Union reported in its 2014 annual
  25   report, issued in February 2015, that “[d]espite minimal sales growth in the U.S.,
  26   competitive inventory cost and reasonable market conditions helped lift the margin
  27   of our US brand.”     Similarly, in December 2014, Lion Capital reported that
  28   Bumble Bee’s EBITDA was a record-breaking $150 Million, on revenue of $1
        COMPLAINT FOR VIOLATION OF THE    96
       SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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    1   Billion. Lion Capital’s Kelly Mayer attributed Bumble Bee’s record year to the
    2   growth of “gross margins through disciplined pricing actions.” These financial
    3   results were due to the conspiracy. For their part, the Lion Entities knowingly
    4   accepted the proceeds of the conspiracy.
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    7           318. In summary, at the time of its acquisition of Bumble Bee, Lion Capital
    8   and Lion Americas knowingly entered the ongoing price-fixing conspiracy with
    9   knowledge of its operation and of the collusive conduct that occurred prior to
   10   2010.        Following its acquisition in 2010, both Lion Entities affirmatively
   11   participated in the conspiracy through 2015 by facilitating coordination and
   12   communications with competitors to raise prices and to limit competition.
   13           319. Additionally, Lion Capital continues to maintain equitable ownership
   14   of Bumble Bee, which has appreciated substantially since Lion Capital purchased
   15   the company for $980 million in 2010. Thai Union had agreed to pay $1.51 billion
   16   for Bumble bee in a deal that was ultimately scuttled due to DOJ’s investigation of
   17   Defendants.       Accordingly, Lion Capital’s equity stake in Bumble Bee has
   18   increased by more than $500 million as a result of the conspiracy, even before
   19   accounting for the conspiracy profits that have been used to pay down Bumble
   20   Bee’s debt.
   21           320. Although DOJ scuttled this merger, Lion Capital has already profited
   22   from the conspiracy. In
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                        This fee appears to have been waived during at least some of those
   28   periods.
        COMPLAINT FOR VIOLATION OF THE             97
        SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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    4         321. Further, Lion Capital and Lion Americas encouraged Bumble Bee to
    5   engage in the conspiracy while (as alleged above) simultaneously loading it up
    6   with debt and siphoning off its profits, causing Bumble Bee to become severely
    7   overleveraged.
    8                                         COUNT I
    9                     VIOLATION OF THE SHERMAN ACT § 1
   10         322. Defendants and their co-conspirators entered into, and engaged in, a
   11   contract, combination, or conspiracy in unreasonable restraint of trade in violation
   12   of Section 1 of the Sherman Act, 15 U.S.C. § 1.
   13         323. Defendants’ anticompetitive acts were intentional, were directed at the
   14   United States Packaged Tuna market, and had a substantial and foreseeable effect
   15   on interstate commerce by raising and fixing Packaged Tuna prices throughout the
   16   United States.
   17         324. The contract, combination, or conspiracy had the following direct,
   18   substantial, and reasonably foreseeable effects upon commerce in the United States
   19   and upon import commerce:
   20         a.     Prices charged to, and paid by, Plaintiff for Packaged Tuna were
   21   artificially raised, fixed, maintained, or stabilized at supra-competitive levels;
   22         b.     Plaintiff was deprived of the benefits of free, open, and unrestricted
   23   competition in the United States Packaged Tuna market; and
   24         c.     Competition in establishing the prices paid for Packaged Tuna was
   25   unlawfully restrained, suppressed, or eliminated.
   26         325. Defendants’ and their co-conspirators’ anticompetitive activities
   27   directly and proximately caused injury and harm to Plaintiff in the United States.
   28
        COMPLAINT FOR VIOLATION OF THE              98
        SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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    1          326. As a direct and proximate result of Defendants’ unlawful conduct,
    2   Plaintiff paid artificially inflated prices for Packaged Tuna.
    3          327. As a direct and proximate result of Defendants’ unlawful conduct,
    4   Plaintiff was damaged in their businesses or property by paying prices for
    5   Packaged Tuna that were higher than they would have been but for Defendants’
    6   unlawful conduct, which has resulted in an amount of ascertainable damages to be
    7   established at trial.
    8                                 PRAYER FOR RELIEF
    9          WHEREFORE, Plaintiff prays that the Court:
   10          A.     Adjudge and decree that Defendants’ unlawful contract, combination,
   11   or conspiracy constituted a per se violation of Section 1 of the Sherman Act;
   12          B.     Enter judgment against Defendants, jointly and severally, in favor of
   13   Plaintiff for treble damages determined to have been sustained by Plaintiff by
   14   virtue of Defendants’ and their co-conspirators’ violations of the Sherman Act;
   15          D.     Award Plaintiff attorneys’ fees, litigation expenses, court costs, and
   16   pre-judgment and post-judgment interest at the highest rates permitted by United
   17   States law; and
   18          E.     Grant Plaintiff such other and further relief as the case may require, or
   19   as the Court deems just and proper under the circumstances.
   20
   21                                     JURY DEMAND
   22          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial
   23   by jury.
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        SHERMAN ACT, 15 U.S.C. § 15 U.S.C. § 1
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        COMPLAINT FOR VIOLATION OF THE           101
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